                        UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF WISCONSIN
______________________________________________________________________________
THE DRAGONWOOD CONSERVANCY, INC.,
PLEGUAR CORPORATION,
TERRY CULLEN,
            Plaintiffs,
v.                                                    Case No. 16-CV-00534
PAUL FELICIAN,
PHIL SIMMERT II,
JANE AND JOHN DOE(S)
CITY OF MILWAUKEE, and
ABC INSURANCE COMPANY,
            Defendants.
______________________________________________________________________________

   DECLARATION OF HEATHER HOUGH IN SUPPORT OF MOTION IN LIMINE
      TO PRECLUDE CERTAIN WITNESSES AND TESTIMONY PERTAINING
                TO PLAINTIFFS’ CONSERVANCY OPERATIONS
               AND PLAINTIFF TERRY CULLEN’S CHARACTER
______________________________________________________________________________

       I, Heather Hough, hereby declare as follows:

       1.      I am an attorney, licensed to practice law in the State of Wisconsin, employed as

an Assistant City Attorney for the City of Milwaukee.

       2.      Assistant City Attorney Jenny Yuan and I were assigned to represent the interests

of the City of Milwaukee, Paul Felician and Phil Simmertt, II in the above-captioned case on or

about November 15, 2019.

       3.      On October 22, 2020, counsel for plaintiffs and counsel for defendants conferred

telephonically in an effort to stipulate to certain items in preparation for trial. Parties agreed not

to illicit testimony or evidence related to federal or state animal permit requirements.

       4.      During the telephone conferral on October 22, 2020, parties could not agree to

preclude Curt Harbsmeier from testifying.

       5.      Attached and incorporated as Exhibit A is a true and correct copy of an e-mail

received from plaintiffs’ counsel during discovery regarding testimony of witness Attorney Curt



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Harbsmeier on Tuesday, June 30, 2020.

         6.       Attached and incorporated as Exhibit B is a true and correct copy of an e-mail

received from plaintiffs’ counsel including two attachments during discovery providing letters in

support of Plaintiff Terry Cullen from James Schauer and Curt Harbsmeier sent on Tuesday,

September 1, 2020.

         7.       Attached and incorporated as Exhibit C is a true and correct copy of a letter sent

by plaintiffs’ counsel during discovery to defendants’ counsel dated August 11, 2020 with an

attachment of a letter in support of Plaintiff Terry Cullen from Collete Adams.

         I declare under penalty of perjury that the foregoing seven (7) paragraphs are true and

correct.

         Dated and signed at Milwaukee, Wisconsin on October 26, 2020.

                                               TEARMAN SPENCER
                                               City Attorney

                                               s/Heather Hecimovich Hough
                                               HEATHER HECIMOVICH HOUGH
                                               Assistant City Attorney
                                               State Bar No.1092637
                                               JENNY YUAN
                                               State Bar No. 1060098
                                               Assistant City Attorney
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1032-2016-1146/272024




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